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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS



James L. Orrington, II, D.D.S., P.C.         )
                                             )      Case No:    14 C 68
               v.                            )
                                             )      Judge: Matthew F. Kennelly
Celebration Media, Inc.,                     )
d/b/a Talk of the Town Awards, et al.        )



                                            ORDER

        No objection having been filed to plaintiff's motion to consolidate, Case No. 14 C 68 and
Case No. 14 C 1186 are consolidated for all purposes. Counsel of record in Case No. 14 C 1186
are directed to file their appearances in Case No. 14 C 68. All filings in either case are to be
made on the docket in Case No. 14 C 68, and not in Case No. 14 C 1186. The ruling date of
4/24/2014 is vacated.




 Date: April 22, 2014                               /s/ Judge Matthew F. Kennelly
